                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

               v.                                                    Case No. 07-CR-294

GARY D. ENGEL,

                      Defendant.


         ORDER GRANTING MOTION TO TERMINATE SUPERVISED RELEASE


       Defendant Gary D. Engel filed a motion to terminate his supervised release in the above

matter. Engel entered a guilty plea to the charge of Conspiracy to Distribute Marijuana and

Cocaine, and on June 12, 2008 he was sentenced to 110 months in prison to be followed by 8 years

of supervised release. Engel began his term of supervised release on June 6, 2016 and has now

completed just over half of his term.

       Engel’s motion outlines his efforts since sentencing aimed at rebuilding his life in order to

successfully navigate a drug-free life surrounded by children, family, healthy relationships, and

work centered around very healthy personal growth. Engel has maintained a stable residence and

consistent employment. The letters of support provide insight into how Mr. Engel has drawn on

his personal experiences to guide not only himself but his family as well to a better life. This

motion also comes with the support of both Probation and the Government and, most impressively,

it appears that Engel himself truly understands and appreciates that his continued growth benefits

him and those he loves in a way that will continue building his future. Probation notes that Engel

has had three speeding violations (all resolved) and one very early violation during his term.




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Although Probation notes that Engel’s social networks have been a risk factor throughout his term

of supervision, in that he lives in the same neighborhood he did prior to going to prison and,

therefore, inevitably runs into old associates–he successfully maintains his efforts by proactively

telling others that he is working, living and maintaining a drug-free lifestyle. Further that, although

Engel has maintained some contacts, the Probation office has observed no sign of violations or

new criminal behavior. And, when Probation discussed the contacts with Engel, he reported being

grateful to those who supported him throughout his journey, and he wanted to support an encourage

others during their similar time. All of these efforts appear consistent with the personal growth

outlined in the motion and supportive responses.

       For all these reasons, this court agrees that continued supervision is no longer necessary.

Accordingly, the motion for early termination of probation is GRANTED.

       Dated at Green Bay, Wisconsin this 2nd day of October, 2020.

                                                       s/ William C. Griesbach
                                                       William C. Griesbach
                                                       United States District Judge




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